             Case 3:18-bk-33056-SHB                             Doc 3 Filed 10/03/18 Entered 10/03/18 16:18:03                              Desc
                                                                                                                                               10/03/18 4:13PM
                                                                Main Document     Page 1 of 2
B2030 (Form 2030) (12/15)
(as adapted for potential use for a flat fee agreement in a chapter 13 case under E.D. Tenn. LBR 2016-1(b))
                                                               United States Bankruptcy Court
                                                                      Eastern District of Tennessee
 In re       Michael Dulin                                                                                       Case No.
                                                                                    Debtor(s)                    Chapter     13

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept a flat fee of                                       $                      0.00
             Prior to the filing of this statement I have received                                           $                      0.00
             Balance Due                                                                                     $                      0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):           $15,000.00 recieved on August 3, 2018

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my law firm.
            A copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed, subject to the exceptions in paragraph 6, to render legal service to the debtor(s) for all
         aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               All Bankruptcy matters including negotiations with secured creditors to reduce to market value; exemption
               planning; preparation and filing of reaffirmation agreements and applications as needed; preparation and filing of
               motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods; plan objections or adversary
               proceedings.

                   Due to the extensive litigation that was filed prior to petition and the unique issues raised in this case, the debtor
                   and counsel agreed that an hourly rate would be appropriate prepetition. The hourly rates agreed upon via
                   written agreement were $200.00 /hr for attorney Ryan Jarrard, $150.00/hr for associates, and $70.00/hr for
                   paralegal support staff. Prior to filing this Chapter 13 petition, $3,135.00 was paid to Quist, Fitzpatrick & Jarrard
                   for attorney's fees, and $310 was paid for the filing fee. $11,555.00 remains in retainer. The fees paid regard
                   services rendered in the state law litigation as well as preparing the bankruptcy petitions, schedules, Chapter 13
                   plan, and providing legal advice. An itemized invoice is available upon request.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:

            a.     Any services, fees, and expenses in connection with an adversary proceeding under Fed. R. Bankr. P. 7001;

            b.     Any services, fees, and expenses in connection with a contempt proceeding;

            c.     Any services, fees, and expenses in connection with the employment of an expert witness; and

            d.     Any services, fees, and expenses in connection with an appeal.


8.     In the event that I provide services that fall within the preceding paragraph 6, I have agreed to be paid 200.00 (per hour), after court
       approval, based on a consideration of the benefit and necessity of such services to the debtor(s) and the other factors set forth in 11 U.S.C. §
       330.




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                                                                                                                                         10/03/18 4:13PM
                                                                Main Document     Page 2 of 2
 In re       Michael Dulin                                                                           Case No.
                                                               Debtor(s)

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                               (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 3, 2018                                                            /s/ Ryan E. Jarrard
     Date                                                                       Ryan E. Jarrard 024525
                                                                                Signature of Attorney
                                                                                Quist, Fitzpatrick & Jarrard, PLLC
                                                                                2121 First Tennessee Plaza
                                                                                800 South Gay Street
                                                                                Knoxville, TN 37929-9711
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                                                                                Name of law firm




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